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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF MARYLAND
                                  (Baltimore Division)

In re:                                       *

PATRICK K. DUNN,                             *       Case No. 18-15937-RAG

         Debtor.                             *       Chapter 7

*        *      *        *   *       *       *       *     *       *     *       *

CRESTWOOD TECHNOLOGY                         *
GROUP CORP.,
                                             *
         Plaintiff
                                             *
v.                                                   Adversary No. 18-00448
                                             *

PATRICK K. DUNN,                             *

         Defendant.                          *

*        *      *        *   *       *       *       *     *       *     *       *

                PLAINTIFF’S DISCLOSURE OF CORPORATE AFFILIATES

         Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and Local Bankruptcy Rule

7003-2, Plaintiff Crestwood Technology Group Corp. ("CTG"), by undersigned counsel,

discloses that (1) CTG has no parent corporation and (2) no publicly held corporation holds more

than 10% of its stock.
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Dated: November 20, 2018                      /s/ Walter R. Kirkman
                                              Walter R. Kirkman (Bar No. 28032)
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                                              Attorney for Crestwood Technology Group Corp.



                                CERTIFICATE OF SERVICE

       I certify that a copy of the foregoing Plaintiff’s Disclosure of Corporate Affiliates will be

served on Patrick K. Dunn, 22 Goucher Woods Court, Towson, Maryland 21286, via original

process along with a summons and a copy of the Complaint to Determine Dischargeability of

Debt filed in this adversary proceeding.



                                              /s/ Walter R. Kirkman
                                              Walter R. Kirkman




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